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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                    8/25/21
  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       Defendant submitted a letter on August 18 informing the Court about disruptions of

attorney-client video teleconferences. Dkt. No. 319. After conferring with MDC Legal, the

Government responded on August 23. Dkt. No. 326. According to the Government and MDC

Legal, the Defendant's difficulties in communicating with her counsel via video teleconference

have been resolved, and the Government's letter sufficiently addresses her other requests. The

Court finds MDC Legal's assurance that Defendant's communications have not been interfered

with, recorded, or listened to sufficient. No further application for relief was made in

Defendant’s August 24 reply. Dkt. No. 327. The Court remains confident that Ms. Maxwell is

fully able to communicate with her defense counsel and to prepare for trial. If Defendant

experiences further issues in communicating with her counsel, she should promptly notify the

Court after conferring in good faith with the Government and MDC Legal.

       SO ORDERED.

 Dated: August 25, 2021
        New York, New York                        ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
